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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                    v.                          :           Case No: 21-CR-403 (RC)
                                                :
NICOLE PRADO,                                   :
                         Defendant.             :

                DEFENDANT’S POSITION WITH RESPECT TO SENTENCING

        Defendant Nicole Prado submits this Memorandum to assist the Court in imposing a

reasonable sentence that is sufficient, but not greater than necessary, to meet the sentencing goals

of 18 U.S.C. § 3553(a) for her conviction of parading, demonstrating, or picketing in a Capitol

building, in violation of 40 U.S.C. § 5104(e)(2)(G).1

        Based on the factors set forth in Section 3553(a), Ms. Prado’s limited actions, her

exemplary post-arrest conduct and cooperation with the government, full acceptance of

responsibility, and her essential responsibilities as primary caregiver for her 6 month-old infant

daughter and 2 year-old son, counsel for Ms. Prado respectfully submits that a sentence of 12

months supervised probation, with conditions including 60 hours of community service, $500

restitution, would best serve the interests of justice without being excessive.

                                            DISCUSSION

HISTORY AND CHARACTERISTICS OF THE DEFENDAN

        Nicole Prado is a rst generation Bolivian-American, who was born in Maryland. She is

a 30 year-old wife and full-time mother of two. She holds a college degree in graphic design.

Both her children are below the age of three. Her son is 2 years old and her daughter is nearly

1The offense is a Class B misdemeanor that meets the definition of a “petty offense.” A term of
supervised release is inapplicable. The U.S. Sentencing Guidelines do not apply.


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     6 months old and still breastfeeding. Ms. Prado’s husband works full-time as a construction

     manager. He is the primary breadwinner for the family and his work requires him to travel

     overnight several days a month. In addition to being a full-time mother, Ms. Prado works from

     home — on a part-time basis — for her husband’s company. Much of her work is performed at

     night after her children go to sleep

                Ms. Prado is the eldest of three siblings. Her parents separated when she was ten. Prior to

     the divorce, Ms. Prado’s younger brother suffered life-threatening injuries that left him a

     paraplegic.2 Having witnessed the tragedy, Ms. Prado remembers it vividly still. Her brother was

         own to the hospital, placed in a medically-induced coma, and remained hospitalized for an

     extended period of time.

                The resulting stress contributed to the break up of Ms. Prado’s parents. Their divorce was

     contentious and culminated in her mother removing her and her brothers from the country

     without their father’s permission. Their mother took them to Bolivia, where they lived without

     proper supervision for several months. Though Ms. Prado was just 13 years old at the time, she

     took on the responsibility of caring for her younger brothers. In his letter to the Court, her father

     writes: “Nicole being the oldest, always demonstrate [sic] the kindness and love for her little

     brothers. … when her mother took my children’s [sic] to Bolivia and left them by themselves

     without my permeation (sic) to keep them away during the divorce she was the one who took

     care of her little brothers.” 3 Echoing this sentiment, Nicole’s brother, Julio Jr, explains

                  I have known Nicole to be very caring when it comes to her family and animals. …
                  She has helped me in various occasions mentally with my depression, as well as
                  physically as I could not always move or accomplish normal physical tasks as I can


     2   See Exhibit 1 (letter from Julio Prado, Jr.)
     3   See Exhibit 2 (Letter from Julio Prado, Sr).


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             now. Before I became more independent as I am now I could not do a lot of things
             such as transfer out of bed, dress myself or go to the bathroom by myself. Nicole has
             helped me during numerous occasions to complete these physical tasks as my mom
             was always at work.4

          Still today, Nicole is consistently described by those her know her best as kind,

compassionate, and a natural caregiver. In his letter to the Court, Nicole’s father-in-law writes

           My daughter-in-law is a compassionate person… In the three years I have known her,
           she has been a caring wife and mother and an attentive daughter-in-law. I am a disabled
           New York Jew who is an ardent liberal, and Nicole has always expressed respect and
           interest in my heritage, beliefs and well-being.5

Ms. Prado’s cousin writes in her letter:

           I have always known [Nicole] to be upbeat, kind, positive, and to have a light hearted
           bright outlook on life… In 2016, I became a mom for the first time and although she had
           just had surgery she came to visit me at the hospital and brought my son a stuffed
           animal. … she was one of the people I could count on to help me with babysitting. …
           She would come over, spend time with my son and relieve me of the hustle and bustle of
           being pregnant with a toddler. I never paid her. It was always just her way of being there
           for me. … She is someone I know I can trust, who sparks joy with her presence, and
           who is a loving aunt to my kids. I have never known her to be violent or hateful.6

These same qualities are discussed by Ms. Prado’s close friend, who writes:

           Mrs. Prado is known for being a loving and dedicated mother. … Ever since I met
           Nicole, she has been in the role of a caretaker. …When Nicole became pregnant with her
           first child, I had no doubt that she would excel in her role as a mother. Soon after, Nicole
           became pregnant with a second child and has ever since served as the primary caretaker
           of both kids. … She is a devoted mother and wife, dedicating her life to the well-being
           and unity of her family.7

Yet another cousin of Ms. Prado’s describes her as “a sweet supportive wife, lovely and nurturing

mother, great listener, a person I can count on.”8

4   See Exhibit 1
5   See Exhibit 3 (letter from Jeffrey Ranbom).
6   See exhibit 4 (letter from Laura Clavijo).
7   See Exhibit 5 (letter from Christian Camacho).
8   See Exhibit 6 (letter from Cristina Ayala).


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Politically Diverse Af liation

                     Since her teenage years, Ms. Prado has been interested in politics. When she was just 17,

she attended her rst political event - President Barack Obama’s inauguration on January 20,

2009.9 She attended the event alone, riding and navigating the metro on her own, so that she

could witness the rst African-American President be sworn in and take of ce. Years later, she

supported Senator Bernie Sanders in his 2016 presidential bid to become President. She attended

several of his rallies,10 did phone banking and even went door to door to support his campaign.

She still has the 2016 email exchange between her and her college professor regarding her

request to attend the Sanders rally. In it, she wrote “Good morning Prof.! I was wondering if it

would count as an excused absence to go see Sen. Bernie Sanders speak at a rally today from 1 to

3pm [I’ll attach the screenshot to this email]. After the rally, the plan is to go back for open

studio. Hope you're having a lovely day. Kind Regard, Nicole Prado”.11

                     After Donald Trump was elected President, Ms. Prado began dating her future husband,

whose political views were more conservative than hers. She began listening to conservative

commentators and media outlets and found that, while she did not like President Trump’s

delivery, she agreed with some of his agenda. Her support for then President Trump grew

stronger in early 2020, after the birth of her first child. Nicole suffered from postpartum

depression and her condition was further amplified by the lockdowns across the country due to

COVID-19. Then her husband lost his job due to shutdowns and his private client’s stopped

calling. They went from having two incomes to none. Panic set in. It was roughly a month

9   See Exhibit 5 (letter from J. Ranbom).
10        Id.
11    See Exhibit 9 (email exchange with professor).


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before Nicole’s husband found another job. As they endured the stress, anxiety and uncertainty

that comes with financial instability, Nicole found solace in Trump’s push to keep the country

open and she became an ardent supporter.

NATURE AND CIRCUMSTANCES OF THE OFFENSE

          On January 6, 2021, Ms. Prado was living in Gaithersburg, Maryland. She was enrolled

in a digital photography class at Montgomery College12 and she had a class assignment to take “a

series of photographs covering an event over which you have no control. Cover the event using

photojournalism style to help the viewer who did not witness it to know what happened.”13

          When Ms. Prado learned of the planned “Stop the Steal” rally at the Ellipse in

Washington, D.C. it seemed, to her, the perfect opportunity to both support President Trump and

take photographs for her class assignment. That morning, she took the metro into Washington,

D.C. and walked to the Ellipse to attend President Trump’s speech. She watched the entire

speech and when President Trump urged his supporters to march to the Capitol to protest what he

repeatedly characterized as a stolen and rigged election, Nicole followed his guidance. Her

intentions were to peacefully protest and take photographs for her photojournalism assignment.

At no point did she engage in violence. At no point did she engage in vandalism. At no point did

she encourage or incite others to do so.

Entry into the Capitol

          According to to the FBI, Ms. Prado entered the building at 2:35 p.m. CCTV video

footage provided by the government in discovery captures about 15 minutes of time leading up


12   See Exhibit 10 (Course Transcript).
13   See Exhibit 11 (announcement for photojournalism class assignment).


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to Ms. Prado’s entry, the moment she entered the building, and several minutes following her

entry. At minute 13:43 of the 20 minute video, a protestor inside the building opens the the door

(normally, not with undue force) as he exits the building. Thereafter a number of protestors enter

the




building, including Ms. Prado who enters at minute 15:34 of the video and is indicated with the

green arrow, above.

        Notably, when Ms. Prado entered the Capitol, the doors were open14 and bore no visible

signs of damage. The video footage shows no indication of violence or vandalism at the


14In the video, the doors appear to be held open by an internal locking mechanism, rather than propped
open by a physical object.


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entryway when she enters, nor any effort on the part of law enforcement to prevent Ms. Prado

from entering. After walking down a short hallway, Ms. Prado encountered a second set of doors

that lead further inside the Capital. These doors, too, were undamaged. Uniformed officers were

standing beside the door closest to Ms Prado and she thanked one of them as she walked through

it. Neither that officer, nor a second uniformed officer who was standing behind him, made

any effort to stop Ms. Prado or others from entering. In fact, the man who entered directly in

front of Ms. Prado is seen on video extending his hand toward the officers for a handshake.




Screen shot from CCTV footage. Photo is taken 3 seconds into a 20 second video clip. Yellow arrow indicates the first
uniformed officer. Green arrow indicates Ms. Prado.




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Screen shot from CCTV footage. Photo is taken 9 seconds into a 20 second video clip. The red arrow indicates the second
uniformed offer. Blue arrow indicated extended hand of protestor in front of Ms. Prado as he goes for a handshake. The green
arrow indicates Ms. Prado’s hand (her body is blocked from view by the man behind her)

         Once inside the Rotunda, Ms. Prado took several photojournalism-styled photographs.

She did not take any “selfies.” She did not engage with other protestors. She did not yell or jeer

or antagonize police. She did nothing to incite the crowd.

         From the Rotunda area, for the next five minutes or so, she aimlessly wandered15 about

the building, following the crowd. She began to feel uncomfortable when she encountered a man

drinking a beer, which he purportedly stole from an office in the building. Upon leaving the area


15Prior to this day, Ms. Prado had never been inside the Capitol and she was unfamiliar with the
building’s labyrinthine layout.


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Screen shot from CCTV footage. Photo is taken 10 seconds into a 20 second video clip. The red arrow indicates the second
uniformed offer. Blue arrow indicated extended hand of protestor in front of Ms. Prado as he goes for a handshake. The green
arrow indicates Ms. Prado’s red ball cap (her body is blocked from view by the man behind her)




where she encountered the unknown man, she immediately began to search for a public

restroom. For the next 5-10 minutes, she searched for signs of a public restroom. As she was

looking for a restroom, she encountered a police officer who questioned her briefly and

instructed her to leave. Prior to encountering this officer, Ms. Prado is seen on CCTV crossing

paths with several other uniformed officers, none of whom interacted with her nor asked her to

leave. Ms. Prado politely answered the officer’s questions and complied with his directions to

leave. She even verbally intervened on the officer’s behalf by admonishing another female




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          protester “ma’am, wait,” when the protestor did not heed the officer’s command to “hold” before

          descending the stairs.

                 According to FBI reports, Ms. Prado was in the building from 2:35pm til 2:52pm — a

          total of 17 minutes. Of those 17 minutes, 5-10 minutes were spent looking for signs of a public

          restroom and 2-3 minutes were spent in the presence of police, politely answering their questions

          and complying with their directives to exit the building.

                 Ms. Prado did not come to Washington, D.C. intending to enter the Capitol or disrupt the

          certi cation of the Electoral College. She had no weapons. She committed no violence. She

          damaged no property, nor did she encourage or incite others to do so. She made no incendiary

          remarks or threats. In short, while she is guilty of the misdemeanor petty offense of parading,

          demonstrating, or picketing in a Capitol building, in violation of 40 U.S.C. §§ 5104(e)(2)(G) &

          5109(b), she exhibited no aggravating conduct during the event.

          POST-ARREST CONDUCT AND ACCEPTANCE OF RESPONSIBILITY

                 Nor did Ms. Prado exhibit any aggravating conduct after the event. She posted nothing

          online to celebrate the violence or spew hateful rhetoric. While her husband posted one video

          and two photos to his private Instagram account, Ms. Prado did not ask him to do so, nor did she

          encourage it. The 10 second video was spontaneously recorded by Ms. Prado’s husband, who

          gave her no advanced warning. In it, he does all the speaking. He briefly pans to Ms. Prado,

          facetiously introduces her as “the new Congresswoman” and claims that she “stormed” the

          Capitol that day. In the video, Ms. Prado offers a nervous chuckle and makes a half-hearted

          effort to cover her face behind the small flag she is carrying. The video was later viewed by




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members of Ms. Prado’s family and caused a great deal of internal strife for Ms. Prado and her

family. A concerned citizen later reported Ms. Prado to the FBI.

        Very shortly after Ms. Prado was contacted by the FBI, she arranged, through

undersigned counsel, to voluntarily turn herself in. She was released on conditions (including

pretrial supervision) the same day. Upon request of the government, Ms. Prado voluntarily

provided the government with each item of clothing she wore on January 6, a small handheld

flag that she carried on January 6, her cell phone (along with the password to the phone), and

digital copies of the photographs she took from outside and inside the Capitol. She also

consented to a forensic evaluation of her phone, as did her husband.

        After entry of her guilty plea, and pursuant to her plea agreement,16 Ms. Prado submitted

to an interview about her conduct in this case. For 90 minutes, she candidly answered all

questions posed by the FBI and government counsel. Ms. Prado has fully complied with each

and every request made of her by the government to date in the case. She has also remained fully

compliant with pretrial services and all conditions of her release in the nearly seven months that

her case has been pending.

        Finally, unlike dozens of other defendants, Ms. Prado did not destroy evidence. Although

she removed a number of photographs from her phone, before doing so she made sure to

preserve the photographs on a thumbdrive, which she voluntarily surrendered to the government.

In addition to the thumb drive of photographs, Ms. Prado voluntarily surrendered to the


16Upon information and belief, the government has demanded that each plea agreement in January 6
cases contain language obliging the defendant to submit to an interview with law enforcement if the
defendant was not previously interviewed by police prior to their arrest. Defendants who were questioned
— even briefly — by police prior to their arrest were not required to do so. Not all defendants have been
asked to follow through on the proffer obligation in their plea agreements. Ms. Prado was, and she
candidly answered all questions posed to her.


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government the items discussed above (items of clothing, small handheld ag, phone, husband’s

phone, passwords to phones, etc.).


THE NEED TO REFLECT THE SERIOUSNESS OF THE OFFENSE, PROMOTE
RESPECT FOR THE LAW AND TO PROVIDE JUST PUNISHMENT
FOR THE OFFENSE

          Ms. Prado is guilty of the petty offense of parading, demonstrating, or picketing in a

Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G). She conspired with no one. She did

not aid, abet, incite or encourage criminal acts by others. She should be judged based on her own

conduct and intent, not that of others. In other January 6 cases, the government had advocated

that:

           the Court should assess the defendant’s conduct during the riot on a spectrum. This
           Court, in determining a fair and just sentence on this spectrum, should look to a number
           of critical factors, to include: (1) whether, when, how the defendant entered the Capitol
           building; (2) whether the defendant encouraged violence; (3) whether the defendant
           encouraged property destruction; (4) the defendant’s reaction to acts of violence or
           destruction; (5) whether during or after the riot, the defendant destroyed evidence; (6)
           the length of the defendant’s time inside of the building, and exactly where the defendant
           traveled; (7) the defendant’s statements in person or on social media; (8) whether the
           defendant cooperated with, or ignored commands from law enforcement officials; and
           (9) whether the defendant demonstrated sincere remorse or contrition.17

          Here, Ms. Prado came to Washington, D.C. on January 6 for two reasons alone: to

exercise her First Amendment rights and to take photographs for her class assignment. She

attended President Trump’s speech at the Ellipse and when he urged his supporters to march to

the Capitol to protest, she followed his guidance. Her intentions were to peacefully protest and

take photographs for her assignment. At no point did she engage in violence. At no point did she

engage in vandalism or theft. At no point did she encourage or incite others to do so.


17   Govt Sentencing Memo in United States v. Stepakoff, 1:21cr96 (ECF 36) at 18-19.


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       She followed others through a set of open doors that had no signs of damage. She

thanked a uniformed officer as she entered. CCTV footage confirms that at the time and place

where she entered, the crowd was not engaging in acts of violence or vandalism. Once inside,

CCTV footage shows her aimlessly meandering about the building taking photographs, not

engaging with the crowd. Never having been inside the building before, she was in awe of its

beauty. She had no agenda and no plan. She did not encourage or participate in violence. While

she was briefly on the periphery and in the rear of a crowd that pushed past police, she did not

push police and she did not see anyone push or assault police. Today, the Court has the benefit

of viewing the omnipresent CCTV video footage to assess the actions of other individuals in the

building, but on January 6, Ms. Prado was witnessing the events from her vantage point as a

petite, 5’3 tall woman. The only arguably physical encounter she witnessed occurred all the way

across the room from her, when an individual in the crowd appeared to spray a fire extinguisher

into the air and in the direction of police who were several feet away. Ms. Prado documented the

encounter with her camera and immediately exited the area where the encounter occurred. She

later provided the documentation to the government.

       Apart from her action of trespassing inside the building, Ms. Prado engaged in no

additional inappropriate or aggravating conduct. When she saw inappropriate behavior by

others, she distanced herself. When she encountered police, she was polite and cooperative. She

was inside the building for just 17 minutes, much of which was spent in search of a public

restroom or in the presence of police, answering their questions and complying with their

instructions.




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        Upon leaving the Capitol, Ms. Prado made no incendiary statements or posts on social

media. She fully cooperated with the FBI and voluntarily turned herself in. At the request of the

government, she tracked down every item of clothing she wore on January 6 and provided it to

the FBI. She gave them her phone, the password to her phone, and consented to a forensic

examination of the phone. Her husband did the same. After her plea, she met with law

enforcement and politely and candidly answered questions for 90 minutes about her nonviolent

conduct for this petty offense. She has exhibited remorse and contrition and pleaded guilty as

quickly as she could, given her unexpected health complications that are discussed below.

        The Court, not the government, decides what factors matter to it, but to the extent that the

government’s factors help place each individual defendant on a spectrum as to their fair and just

punishment, the government’s factors strongly demonstrate that Ms. Prado fits on the lowest end

of that spectrum and that a sentence of a term of probation is appropriate.

 THE NEED TO PROTECT THE PUBLIC FROM FURTHER CRIMES BY MS. PRADO

        Ms. Prado is a 30 year old mother of two with no history of violence and a minimal

criminal history.18 Because she is being sentenced on a petty offense, the U.S. Sentencing

Guidelines do not apply. However, even if they did, she would fall within the lowest criminal

history category (Criminal History Category I). Simply put, she is not someone whom the public

needs to be protected from. The government’s argument that, for Ms. Prado’s petty offense of

nonviolently demonstrating at the Capitol building, taxpayers should pay hundreds of dollars a




18Her record consists of a single misdemeanor DUI conviction that occurred before she was married or
had children, and a traffic related charge that would not qualify as a prior sentencing event under the
sentencing guidelines. See USSG § 4A1.2(c)(1).


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day to incarcerate a mother of two (who is still nursing her infant) for fourteen days — while in

the midst of a COVID surge, no less — in order “protect society” strains credulity.

       Deterrence has already been achieved through Ms. Prado’s arrest, her seven months of

pretrial supervision with restrictions, federal conviction, public shaming, and the inescapable

notoriety and social stigma of being a January 6 defendant whose photograph has been posted

online and in the media. Ms. Prado has been contacted by the press repeatedly and has had to

change her username on social media accounts to avoid harassment. The case, and her actions of

entering the Capitol Building on January 6, have also significantly damaged her relationships

with loved ones. She experienced all of this while pregnant and the stress from the case proved to

be deleterious to her health and pregnancy. On August 1, 2021 (roughly six weeks after her

arrest), she was admitted to the hospital for signs of premature labor, including cramping and

bleeding.19 She was placed on bed rest for the duration of her pregnancy, yet still went into labor

prematurely and had to have an emergency cesarean section. Her baby was born one month

premature. The consequences of her decision to enter the Capitol on January 6 will forever haunt

her, a fact she acknowledges in her letter to the Court “[this] has proven to be one of the worst

and costliest decisions of my life; one that has impacted my family every day since then and cost

me relationships with people I held close.” This case has made it crystal clear to Ms. Prado and

the general public that First Amendment expression and protest is not without limitation.

       Finally, history and scientific studies have taught us that general deterrence is best

achieved not through confinement or excessive sentences, but rather by the certainty of getting

caught. What is more, while not evident from the government’s sentencing recommendation in

19On August 6, 2021, Defense counsel provided the government with a copy of Ms. Prado’s hospital
discharge record.


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this case, the Department of Justice agrees. In May 2016, The National Institute of Justice (the

research, development and evaluation agency of the United States Department of Justice)

published a newsletter entitled “Five Things about Deterrence.”20 Among the five fundamental

principles cited in the letter, the first four are especially relevant here:

          1) The certainty of being caught is a vastly more powerful deterrent than the
              punishment.
          2) Sending an individual convicted of a crime to prison isn’t a very effective way to deter
              crime.
          3) Police deter crime by increasing the perception that criminals will be caught and
             punished.
          4) Increasing the severity of punishment does little to deter crime.

          For the past thirteen months, the message to the general public that everyone who stepped

foot inside the Capitol on January 6 will be found and prosecuted has resonated loud and clear.

Entire websites and social media sites, such as SeditionHunters, have been established with the

sole focus of identifying suspects and assisting law enforcement. Nationwide hotlines have been

set up for anonymous tipsters to report on their friends, family members and acquaintances who

entered the Capitol. Every day, images captured on January 6 from the vast network of CCTV

cameras inside the Capitol flood the news. Photographs of all the suspects have been posted

online and in the national media. Local media, too, abounds with coverage identifying local

suspects, posting their pictures and discussing the investigation into their alleged actions.21 A



20   See Exhibit 10 (NIJ Newsletter).
21See, e.g., Jeremy Jojola, Here are the 12 people with Colorado Ties that Have Been Charged in the
Capitol Riot, 9News, Jan. 6, 2022, https://www.9news.com/article/news/investigations/coloradans-us-
captiol-riot/73-83f3ecfc-2fd6-47b8-b5bf-449ffc47f6ea. (last viewed Jan. 30, 2022); Miranda Fulmore,
WBHM - NPR News for the Heart of Alabama, One year later: Alabamians arrested in connection with
the U.S. Capitol insurrection, Jan. 5, 2022, https://wbhm.org/2022/one-year-later-alabamians-arrested-in-
connection-with-the-u-s-capitol-insurrection; Erin Vogt, A year later: More than 20 NJ arrests in Jan. 6
attack on U.S. Capitol, NJ101.5, Jan. 5, 2022, https://nj1015.com/nj-jan-6-capitol-attack-arrests/?
utm_source=tsmclip&utm_medium=referralhttps://nj1015.com/nj-jan-6-capitol-attack-arrests.


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sentence of active confinement, or home confinement, is simply not necessary (i.e. greater than

necessary) to achieve the goal of general deterrence. A sentence of probation, with conditions

including community service and restitution, is neither light nor lenient; it is appropriate and just.

                NEED TO AVOID UNWARRANTED DISPARATE SENTENCES

          As of January 30, 2021, 82 of the misdemeanor January 6 defendants have been

sentenced.22 Of those 82 defendants, 32 received active jail sentences. That translates to 39%.

The clear majority of misdemeanant cases do not merit jail time and have not received jail time.

While no two cases contain identical facts, some of the cases bear similarities to Ms. Prado’s

case and are worthy of mention.

          U.S. v. Eliel Rosa, 1:21cr68. On the morning of Jan 6, Mr. Rosa posted a photo online of

protestors marching in the street with the caption “and we fight!!!”23 Mr. Rosa attended the

Trump rally, returned to his hotel room and, learning of the events at the Capitol elected to leave

his room to go to the Capitol.24 Mr Rosa went to the Capitol “after learning that Vice President

Pence was not going to take action.” He consciously and thoughtfully intended to join the violent

protest. He entered through the very same doors that Ms. Prado entered — a mere 17 seconds

after her. He walked through many of the same areas as Ms. Prado, though he remained inside

the building longer than her. He, too, appeared to be escorted out by police. He later turned

himself in to law enforcement voluntarily. On October 13, 2021, he was sentenced by Judge

McFadden to one year of probation with 100 hours of community service.


22See January 6 Insurrection Sentencing Tracker, Politico, https://www.politico.com/news/2022/01/04/
jan-6-insurrection-sentencing-tracker-526091#full-table (last visited January 31, 2022).
23   See Government’s Sentencing Memo, Case 1:21-cr-00068 (ECF 66).
24   See Government’s Sentencing Memo, Case 1:21-cr-00068 (ECF 66).


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          U.S. v. Danielle Doyle, 1:21cr324. Ms. Doyle entered the Capitol through a broken

window and remained inside for approximately 24 minutes.25 She walked through numerous

areas of the building, including the Orientation Lobby, the Crypt, the Upper Orient Lobby, the

Rotunda, and an interior staircase of the Capitol building knows as the Supreme Court Chambers

stairs. She continued to write proudly about her presence and actions several weeks after January

6. On October 2, 2021, Judge McFadden sentenced her to two months of probation and a $3000

fine.

          U.S. v. Israel Tutrow, 1:21cr310: Mr. Tutrow, who has four prior criminal convictions

and has previously served jail time, traveled from Indiana and unlawfully entered the Capitol

with his friend and codefendant Joshua Wagner.26 He admitted seeing officers engaging rioters

and deploying tear gas on one side of the Capitol, so he went around and entered on the other

side. He remained inside for about 30 minutes. When asked by the FBI whether he brought a

weapon into the Capitol, he falsely stated three times that he did not. At his plea colloquy, he

admitted that he did bring a knife inside. Tutrow turned himself in to the FBI when he was

notified there was an arrest warrant for him and gave a voluntary — albeit flawed — post-arrest

interview with the FBI. He deactivated his social-media accounts after January 6, but denied

doing so because he feared the FBI would identify him. He did not engage in social-media

promotion of his or others’ breach of the Capitol. On December 21, 2021, he was sentenced by

Judge Berman Jackson to 36 months of probation and $500 restitution




25   See Statement of Offense, Case 1:21cr324 (ECF 24).
26   See Government’s Sentencing Memorandum, Case 1:21cr310 (ECF 43).


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           U.S. v. Zachary Wilson & Kelsey Wilson, 1:21CR578. The husband and wife defendants

each plead guilty to Parading, Demonstrating or Picketing in a Capitol Building. Mr. Wilson

entered the Capitol through a broken window while his wife entered through an adjacent door

that had been forced open.27 The defendants “entered the Senate Wing doors, entered Nancy

Pelosi’s office, walked through the Rotunda, the Crypt, and various hallways before exiting.”28

They were in the building for 20 minutes. Neither engaged in violence or property destruction.

Each defendant, however, engaged in aggravating conduct after they left. Mr. Wilson posted a

message on his Facebook page that read ““first ones in !!!! First thing we found was Pelosi’s

office.”29 Unlike her husband, Mrs. Wilson did not celebrate the attack on social media, but when

she was interviewed by the FBI, she intentionally lied by denying that she and her husband had

entered the Capitol.30 On January 27, 2022, Judge Mehta sentenced Mr. Wilson to 24 months of

probation with 45 days home confinement, plus 60 hours of community service. He sentenced

Mrs. Wilson to 24 months of probation with 30 days of home confinement and 60 hours of

community service.

           U.S. v. Stepakoff, 1:21cr96. Mr. Stepakoff entered the Capitol through a door that had

been forcibly breached 12 minutes earlier.31 As he entered, people climbed through broken

windows on either side of him. Stepakoff claimed not to notice. He remained inside the building

for 5 minutes and did not engage in violence or vandalism. However, he posted videos and


27   See Government’s Sentencing Memorandum, Case 1:21-cr-578 (ECF 50).
28   See Statement of Offense, Case 1:21-cr-578 (ECF 33).
29   Id.
30   See Government’s Sentencing Memorandum, Case 1:21-cr-578 (ECF 50).
31   See Government Sentencing Memorandum in Case 1:21cr96 (ECF 36).


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messages on the internet about “storming the gates,” about violence becoming “inevitable,” and

that “there comes a time when people just say we’re not going to take it,” though he claimed that

he did not mean to support violence by the posts. He later deleted his Facebook posts. Mr.

Stepakoff had no prior criminal convictions, but previously had his law license suspended for 6

months, in part, because he “engaged in conduct involving dishonesty, fraud, deceit or

misrepresentation.” He was sentenced by this Court to 2 months home confinement with location

monitoring and 12 months probation.

       Of these six cases, each with offense facts similar or worse than Ms. Prado, all received

non-incareration sentences. Three received home-confinement as a condition of probation; the

other three did not.

                                        CONCLUSION

       For these reasons and any that shall be advanced at the sentencing hearing, counsel for

Ms. Prado respectfully requests that this Court place Ms. Prado on supervised probation for 12

months, with the added conditions that she complete 60 hours of community service and pay

$500 restitution.


                                             Respectfully submitted,


                                                    /s/
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of January, 2022, I will electronically file the
foregoing Motion to Continue with the Clerk of Court using the CM/ECF system, which will
then send a notification of said filing (NEF) to counsel of record.

                                                            _______________/s/__________
                                                                     Joan Robin




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